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     Federal Defender
2    HANNAH R. LABAREE, #294338
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     MARTY MARCIANO BOONE
6
7                                    UNITED STATES DISTRICT COURT
8                                   EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                       )   Case No. 2:16-cr-020 TLN
                                                     )
10                           Plaintiff,              )   STIPULATION AND ORDER TO
                                                     )   CONTINUE TRIAL AND SET MOTIONS
11         v.                                        )   SCHEDULE
                                                     )
12   MARTY MARCIANO BOONE and                        )   Date: December 4, 2017 (Trial)
     RONDA BOONE,                                    )   Time: 9:30 a.m.
13                                                   )   Judge: Hon. Troy L. Nunley
                             Defendants.             )
14
15           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
16   Attorney, through Jared Dolan Assistant United States Attorney, attorney for Plaintiff, and
17   Heather Williams, Federal Defender, through Assistant Federal Defender, Hannah R. Labaree,
18   attorneys for Marty Marciano Boone, and Ronda Boone, appearing in Pro Per, that the trial set
19   for December 4, 2017 be continued until April 9, 2018 and the Trial Confirmation Hearing for
20   November 2, 2017 be continued to March 1, 2018 at 9:30 a.m.
21           A continuance of the trial date is supported by the following reasons: counsel for Mr.
22   Boone requires additional time to research, prepare, and file pretrial motions, and to conduct
23   investigation. Since the date of trial setting in this case (CR 55), the government has filed a
24   superseding indictment (CR 60), containing two additional charges against both defendants, has
25   provided additional discovery, and anticipates disclosing more discovery. Defense counsel will
26   need additional time to review the material and prepare the case for trial.
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      Stipulation/Proposed Order to Continue Trial       -1-
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1            Further, as of late August, 2017 (CR 64), Ms. Boone is appearing in Pro Per. She
2    requires additional time to review the full extent of the discovery against her and prepare a case
3    for trial. In light of this change in circumstance, counsel for Mr. Boone requires additional time
4    to conduct investigation, research possible motions, and prepare for trial.
5            Speedy trial time has previously been excluded until December 4, 2017 under 18 U.S.C.
6    § 3161 (h)(7)(B) (iv) (Local Code T4). The parties stipulate to the further exclusion of time
7    under 18 U.S.C. § 3161 (h)(7)(B) (iv) (Local Code T4) for defense preparation until April 9,
8    2018.
9            In light of the new proposed trial date, the parties believe that a motions hearing should
10   be set on January 11, 2018 at 9:30 a.m. The briefing schedule for the motions to be heard should
11   be as follows:
12           Any defense motions should be filed on or before November 30, 2017.
13           Any government opposition should be filed on or before December 14 2017.
14           Any reply briefs to the government’s opposition should be filed on or before December
15           28, 2017.
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      Stipulation/Proposed Order to Continue Trial    -2-
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1    IT IS SO STIPULATED.                            Respectfully submitted,
2                                                    HEATHER E. WILLIAMS
                                                     Federal Defender
3
4    DATED: October 2, 2017                          /s/
                                                     HANNAH R. LABAREE
5                                                    Assistant Federal Defendant
                                                     Attorney for Defendant
6                                                    MARTY MARCIANO BOONE
7
     DATED: October 2, 2017
8                                                    RONDA BOONE
                                                     In Pro Per
9
     DATED: October 2, 2017                          PHILLIP A. TALBERT
10                                                   United States Attorney
11
                                                     /s/
12                                                   JARED DOLAN
                                                     Assistant United States Attorney
13                                                   Attorney for Plaintiff
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      Stipulation/Proposed Order to Continue Trial     -3-
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1                                                     ORDER
2                The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
4    Court finds that the ends of justice to be served by granting the trial continuance outweigh the
5    best interests of the public and defendant in a speedy trial. Under the Speedy Trial Act, pursuant
6    to 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4) time is excluded until April 9, 2018, the date
7    of trial.
8                It is further ordered that the Trial Confirmation Hearing be set for March 1, 2018 at 9:30
9    a.m. The briefing schedule for the motions to be heard on January 11, 2018 is as stipulated.
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11   Dated: October 3, 2017
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14                                                             Troy L. Nunley
                                                               United States District Judge
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      Stipulation/Proposed Order to Continue Trial       -4-
